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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

DAVIS MEMORIAL GOODWILL                       )
INDUSTRIES                                    )
dlbla Goodwill oJGreater Washington,          )
                                              )
                      Plaintiff,              )
                                              )       Civil Action No. 1:17cv0347 (TSE/JFA)
       v.                                     )
                                              )
ALAA GARADA,                                  )
a/kla Alan Garada,                            )
                                              )
                       Defendant              )


             PROPOSED FINDINGS OF FACT AND RECOMMENDATIONS

       This matter is before the court on defendant Alaa Garada's ("defendant" or "Garada")

motion to vacate default judgment. (Docket no. 48). Since defendant's motion relates to a post­

trail matter and seeks relief that could be dispositive, it is being considered in accordance with 28

U.S.C. § 636(b)(3). McLeod, Alexander, Powel & Apjfel, P.C. v. Quarles, 925 F.2d 853 (5th Cir.

1991). Pursuant to 28 U.S.C. § 636(b), the undersigned magistrate judge is filing with the court

his proposed findings of fact and recommendations, a copy of which will be provided to all

interested parties.

                                       Factual Background

        As alleged in its complaint (Docket no. 1) ("Compl."), plaintiff Davis Memorial

Goodwill Industries ("plaintiff'' or "Goodwill") is a non-profit charitable 501 (c)(3) organization

funding its mission through diverse lines of business, including operating a chain of retail stores

in the Washington, D.C. metropolitan area. (Compl. 115-6). Goodwill collects donations at

donation bins and attended donation sites throughout the area, but cannot house and sell a


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F.3d 847 (table) (4th Cir. 1997) (citing Schwartz v. United States, 976 F.2d 213, 217 (4th Cir.

1992) and Swaim v. Mo/tan Co., 73 F.3d 711,719 (7th Cir.), cert denied, 517 U.S. 1244 (U.S.

June 10,1996)). "Federal courts considering Rule 60(b)(4) motions that assert a judgment is

void because of a jurisdictional defect generally have reserved relief only for the exceptional

case in which the court that rendered judgment lacked even an arguable basis for jurisdiction."

Espinosa, 559 U.S. at 271.

       In considering a Rule 60(b) motion stemming from a default judgment, the Fourth Circuit

takes a "liberal view" due to the "equitable balance between [the court's] preference for trials on

the merits and the judicial system's need for finality and efficiency in litigation." Augusta

Fiberglass Coatings, Inc. v. Fodor Contracting Corp., 843 F.2d 808,811 (4th Cir. 1988). The

Fourth Circuit draws a "clear line between the fault of counsel and the fault of a party

personally," finding that "propriety of giving relief must be resolved in the movant's favor when

the movant bears no personal responsibility for the error which led to the default." Id. However,

where a party fails to show "excusable neglect,or any excuse at all,for its failure to answer" it is

not entitled to relief. Id

        As discussed above,defendant was properly served and had actual notice of the litigation.

This court previously established that it had personal jurisdiction over defendant, a Virginia

resident,and subject matter jurisdiction over the matter pursuant to 28 U.S.C. § 1332. (Docket

no. 12 at 3). Additionally,even in light of the Fourth Circuit's "liberal view" of Rule 60(b),

there is no basis to vacate the judgment against defendant. As the Augusta court notes,the

Fourth Circuit is primarily concerned with a default entered due the fault of counsel rather than

the fault of a party personally. Augusta, 843 F.2d at 811. Defendant's failure to file a responsive

pleading at any point during the litigation despite receiving notice of the litigation is clearly his


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